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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                              X
UNITED STATES OF AMERICA,
                                                           1:20-cr-00278 TNM
                       Plaintiff,
        vs.


KEITH BERMAN,

                       Defendant.
                                              X

                                DEFENDANT'S EXHIBIT LIST


        Below is the list of Defendant's trial exhibits.

Exhibit A -    James Reilly Charts

Exhibit B -    SEC Order of Suspension of Trading — 4/23/2020

Exhibit C -    DECN Price Chart -- 2020

Exhibit D -    Tom Nelson Preferred Class D Subscription Agreement

Exhibit E -    Ernesto Amparo,Esq. Emails to FDA — June 22, 2020 and June 25, 2020

Exhibit F -    March 12, 2020 — Memo from The Bio

Exhibit G -    March 23, 2020 — Memo from The Bio

Exhibit H -    March 22,2020 — Email form Daniel Kim to Keith Berman

Exhibit I -    June 2, 2020 — Email from Daniel Kim to Keith Berman

Exhibit J -    Promissory Notes Reflecting DECN Borrowings — 2020

Exhibit K -    April 3, 2020 GenViro Pre EUA Submission for Molecular-Based Tests for SARS
               COV-2 that causes COVID-19

Exhibit L -    April 20, 2020 Supplemental Submission to FDA for professional use
               PEUA200232




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Exhibit M -   May 1, 2020 Submission for home use Pre EUA — PEUA 200947

Exhibit N -   GenViro Package and Contents

Exhibit0 -    Transcript of Keith Berman Interview

Exhibit P -   The Bio Chronology of GenViro Product Development

Exhibit Q -   Duval & Associates, P.A. Listing ofinvoices and receipts for work on GenViro


Dated: December 23, 2021

                                                 Respectfully submitted,

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